Case 2:04-cv-02957-SHI\/|-dkv Document 28 Filed 08/23/05 Page 1 of 2 Page|D 39

FREJBY [Ml
IN 'I‘HE UNITED STATES DIS'I‘RICT COURT

FOR THE wESTERN DISTRICT 0F TENNESSEE _
wESTERN DIvISIoN 95 hug 23 AH 5‘ 52

 

T%DM°S-M.-BG&D
NS ,
FRED MONTESI'S, INC., d/b/a U£§B%§£EEYESEFH
MONTESI'$ sUPERMARKET, ~-h~
Plaintiff,
VS' No. 04-2957-Mav

CENTIMARK CORPORATION,

Defendant.

 

ORDER GRANTING MOTION TO FILE REPLY

 

Before the court is the defendant'e August 9, 2005, motion
to file a reply to plaintiff’s response to the defendant’s motion
to transfer. For good oause shown, the motion is granted and
Centimark may file its reply.

lt is 50 oRDeReD this '2‘*Lday of August, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

TF:is document entered on the docket sheet in comp|i nce
with Hu!e 58 and/or 79(3) FRCF on M

 

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Stephen H. Biller

THE BOGATIN LAW FIRM
1661 International Place Dr.
Ste. 300

1\/1emphis7 TN 38120

Walter E. Schuler

THE BOGATIN LAW FIRM
1661 International Place Dr.
Ste. 300

1\/1emphis7 TN 38120

Todd ]3. Murrah

GLASSMAN .TETER EDWARD & WADE
26 N. Second Street

1\/1emphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

